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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 21-CR-80166-RUIZ


  UNITED STATES OF AMERICA,
             Plaintiff,
  v.

  TIFFANY CANDOFF,
              Defendant.
  ____________________________/

                        DEFENDANT CANDOFF’S OBJECTIONS
                    TO THE PRESENTENCE INVESTIGATION REPORT

         Pursuant to Federal Rules of Criminal Procedure Rule 32(f), Defendant Tiffany

  Candoff objects to the following facts contained in the Presentence Investigation Report (“PSR”)

  [ECF No. 33].

                                        Factual Objections

         Counsel for Ms. Candoff discussed all factual objections with Senior United States

  Probation Officer Hill. All of Ms. Candoff’s factual objections have been resolved.



                   Objection Requesting Downward Adjustment for Mitigating Role

         Ms. Candoff respectfully objects to PSR paragraph 38 which recommends that no

  adjustment for role should be applied in this case. There were several other participants in the

  charged criminal activity and Ms. Candoff was a minor participant when compared to most other

  participants. The other participants include: the narcotics manufacturer; the person who supplied

  the narcotics to Ms. Candoff; the person who shipped the narcotics to Ms. Candoff from

  California on behalf of the supplier; and the ultimate purchaser of the narcotics in Melbourne,




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  Florida who intended to further distribute the narcotics as part of the Drug Trafficking

  Organization.

         The Guidelines define “participant” in the commentary to USSG § 3B1.1 as “a person

  who is criminally responsible for the commission of the offense, but need not have been

  convicted. A person who is not criminally responsible for the commission of the offense (e.g.,

  an undercover law enforcement officer) is not a participant.” USSG § 3B1.1, cmt. n.1. The

  Eleventh Circuit relies on this note to define “participant.” United States v. Zada, 706 F. App'x

  500, 509 (11th Cir. 2017) (quoting U.S.S.G. § 3B1.1, cmt.. n.1); United States v. Duperval, 777

  F.3d 1324, 1336 (11th Cir. 2015). In U.S. v. Anthony, the Sixth Circuit stated that, “[C]ourts

  ‘uniformly count’ as participants those who ‘were (i) aware of the criminal objective, and (ii)

  knowingly offered their assistance.’” U.S. v. Anthony, 280 F.3d 694, 698 (6th Cir. 2002).

         The government is aware of other participants including the individual that supplied and

  shipped the narcotics from California to Florida based, in part, on the statements of Michael

  Willis, Elizabeth Pinkerton, and Ryan Davidson.

         Ms. Candoff seeks a two level decrease pursuant to USSG § 3B1.2(b) as Ms. Candoff

  was substantially less culpable than the average participant in this offense. There is no evidence

  that either the manufacturer, supplier, California shipper, or the ultimate purchaser of the

  narcotics has been prosecuted. Ms. Candoff simply coordinated to receive the cocaine at her

  Airbnb and further transport it via Lyft to the ultimate purchaser of the narcotics - an individual

  in Melbourne, Florida. Importantly, Ms. Candoff did not open or weigh the contents of the first

  package prior to sending it to Melbourne using Lyft.

         Ms. Candoff never took possession of the methamphetamine in the second package.

  Presumably she would have fulfilled the same function with regard to the methamphetamine.



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         Ms. Candoff’s limited role is contemplated by the Guidelines. Application Note 3(A)

  states that, “[F]or example, a defendant who is convicted of a drug trafficking offense, whose

  participation in that offense was limited to transporting or storing drugs and who is accountable

  under § 1B1.3 only for the quantity of drugs the defendant personally transported or stored may

  receive an adjustment under this guideline.” USSG § 3B1.2, appl. n.3(A). Ms. Candoff is being

  held accountable for only the quantity of drugs that she personally transported or stored. Ms.

  Candoff's role was limited and while her role cannot be described as minimal, she is less

  culpable than most other participants. Ms. Candoff respectfully requests that this Honorable

  Court grant her a minor role pursuant to USSG § 3B1.2.

         As additional background and support for a minor role reduction, Ms. Candoff offers the

  following information regarding Michael Willis, the person that introduced Ms. Candoff to the

  supplier.   In case number 21-CR-60266-KMM, Mr. Willis pled guilty to possession with the

  intent to distribute methamphetamine and fentanyl. USDC SDFL Case 21-CR-60266-KMM,

  ECF No. 20. As part of discovery in the instant case, the Government produced a United States

  Postal Inspection Service report dated August 18, 2021 that detailed the circumstances

  surrounding law enforcement’s traffic stop and arrest of Mr. Willis. Unlike Ms. Candoff, at the

  time of his arrest Mr. Willis was in possession of a firearm. Post arrest, Willis told officers that

  on average he sold 15 pounds of methamphetamine per week. Willis also described himself as

  the largest methamphetamine dealer in Broward County. Ms. Candoff is substantially less

  culpable than Willis in all three of these respects.

         If this Honorable Court determines that Ms. Candoff qualifies for a minor role pursuant

  to USSG § 3B1.2 then her offense level is lowered by two levels. USSG § 2D1.1(a)(5) would

  then operate to lower Ms. Candoff’s offense level by an additional 3 levels. Ms. Candoff’s total



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  offense level would be 26 with a Criminal History Category I leading to a Guidelines range of

  between 63 and 78 months’ imprisonment.

                                     Respectfully submitted,

                                     s/ Robert W. Stickney
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                                    CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing was electronically

  filed by CM/ECF this 23rd day of June 2022.


                                     Respectfully submitted,

                                     s/ Robert W. Stickney
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